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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
                                    )
BASSEM AL-TAMIMI, et al.            )
                                    )
                                    )
      Plaintiffs,                    )
                                    )    Civil Action No. 1:16-cv-00445-TSC
v.                                  )
                                    )
SHELDON ADELSON, et al.             )
                                    )
             Defendants.            )
                                    )
___________________________________ )


 DECLARATION OF ALEXIS L. COLLINS IN SUPPORT OF MOTION TO DISMISS
 PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 12(B)(1) AND 12(B)(6)

      Alexis L. Collins, pursuant to 28 U.SC. § 1746, declares and states as follows:

      1.      I am an attorney admitted to practice before this Court and a partner with the law

 firm Cleary Gottlieb Steen & Hamilton LLP, which is counsel for Bank Leumi USA in the

 above-captioned action.

      2.      I submit this declaration in order to place before the Court a document cited in the

 Omnibus Memorandum of Law in Support of Defendants’ Motion to Dismiss Pursuant to

 Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), dated July 3, 2020, which is being

 filed herewith.

      3.      Attached as Exhibit A to this declaration is a demonstrative chart prepared for the

 convenience of the Court that categorizes Plaintiffs based on a number of selected pleading and

 standing deficiencies.
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       I declare under penalty of perjury that the foregoing is true and correct. Executed on July

3, 2020 in Washington, D.C.



                                             Alexis L. Collins




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                                                                                          EXHIBIT A
                                                             DEMONSTRATIVE CHART OF PLAINTIFFS' STANDING AND PLEADING DEFICIENCIES


                                                                                       KEY
                         No allegations of injury
                         Claim barred by statute of limitations
                         Claim waived because premised on conduct of Israeli military
                         No injury in fact as claim based on loss of family land
                         Property damage / loss alleged insufficient to support ATS claim and unavailable as a matter of law for TVPA claim                                                    `
                         Injury not fairly traceable to moving defendants
                         Not a plaintiff




                                                                                   BACKGROUND                                                                                                        STATUTE OF LIMITATIONS               SELECTED STANDING / PLEADING DEFICIENCY


                                                       Israeli           Injury
                                                      Military         Allegedly
                                Location
                                                     Alleged To         Based on           Alleged                                                                                                 Alleged Date of   Barred by Statute
        Name                        of                                                                                                     Alleged Injury                                                                                      Selected Standing and Pleading Deficiency
                                                    Have Played       Direct Israeli      Citizenship                                                                                                  Injury         of Limitations
                               Allegations
                                                    Some Role in        Military
                                                       Injury            Action


                                                                                                            "At this time, Plaintiff’s attorneys are still seeking to clarify the nature and
    Adam Hamdan              AC, Ex. C at 3                                                  None                                                                                                       None         Potentially Barred   No allegations of injury
                                                                                                                     details of Plaintiff’s Hamdan’s injuries." (AC, Ex. C at 3)


Hisham Abu Al- Hassan       AC Caption Only                                                  None                                            None alleged                                               None         Potentially Barred   No allegations of injury

    Neddal Assad
                            AC Caption Only                                                  None                                            None alleged                                               None         Potentially Barred   No allegations of injury
      Attwan


   Abbas Hamideh                                                                                             “[L]ost a number of family members . . . courtesy of funding supplied by
                                                                                                            JNF and Bank Leumi. Family driven from home located in Ras Karkar. . .
                                                                                                                                                                                                     1948-1950
AC, Ex. C contains two       AC, Ex. C. at 2             Yes.               No.              None           . [Suffered] forced expulsion and theft of private property.” IDF and IAF                                     Barred          No injury in fact as claim based on loss of family land
 separate entries for                                                                                             are listed as “Eventuating Perpetrators,” and IDF is listed as a
   Abbas Hamideh                                                                                                         “Receiving/Distributing Entity.” (AC, Ex. C at 2)


                                                                                                            “Plaintiff Nofal’s family was forcibly expelled from the family home ... by
                                                                                                             the 'eventuating perpetrators.'" The "eventuating perpetrators" include:                   1948
      Alaa Nofal            AC, Ex. C at 4-5             Yes.               No.              None                                                                                                                         Barred          No injury in fact as claim based on loss of family land
                                                                                                                Haganah/ Palmach/ Irgun/Lehi/IDF area military commanders/IDF
                                                                                                                   soldiers/ HP/Motorola/ BL/BH/ RE/MAX. (AC, Ex. C at 4-5)

                                                                                             None
                                                                                                             “[Toppazinni’s family], the horses and livestock were murdered by IDF
       Emaan                                                                            Identified in the      soldiers assisted by various terrorist groups. . . . As a result of being                                                  Claim waived because premised on conduct of Israeli
                           AC, Ex. C at 11-12            Yes.               Yes.                                                                                                                        1948              Barred
     Toppazzini                                                                           Caption as           violently attacked by IDF forces, she lost a family home and 20-acre                                                       military
                                                                                          residing in                               farm.” (AC, Ex. C at 11-12)
                                                                                            Canada




                                                                                                                                                                                                                                                                                                    1
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                                                                             BACKGROUND                                                                                                  STATUTE OF LIMITATIONS                    SELECTED STANDING / PLEADING DEFICIENCY


                                                      Israeli        Injury
                                                     Military      Allegedly
                                  Location
                                                    Alleged To      Based on           Alleged                                                                                         Alleged Date of        Barred by Statute
          Name                        of                                                                                             Alleged Injury                                                                                      Selected Standing and Pleading Deficiency
                                                   Have Played    Direct Israeli      Citizenship                                                                                          Injury              of Limitations
                                 Allegations
                                                   Some Role in     Military
                                                      Injury         Action



        Yousif
      Mohammad
     Yakob Attwan

Spelling in AC, Ex. C is
  Yousef Muhammad                                                                                        Ibrahim Mahmoud Ibrahim Musa & Yousef Muhammad Yaqoob Attwan:
                                                                                                                                                                                     15 years ago ("causing
        Yaqoob                                                                                             “Two of their registered properties were stolen, ruined and they were
                                                                                                                                                                                       them to continually
                                                                                                           prevented from making any use out of them. . . . Construction/support                                                   Property damage / loss alleged insufficient to support
                                                                                                                                                                                         suffer financial
   The entry for Yousif        AC, Ex. C at 22         Yes.            No.               None           firms profited. . . All of the [new] structures are protected by HP/Motorola                               Barred          ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                      damages for the past
      Attwa is not an                                                                                   systems and 24-hour protection provided by G4S personnel.” IDF is listed                                                   claim
                                                                                                                                                                                      15 years", AC, Ex. C
   individual entry for                                                                                 as an “Eventuating Perpetrator” and “Receiving/Distributing Entity.” (AC,
                                                                                                                                                                                              at 22)
    Attwan, but rather                                                                                                                   Ex. C at 21-22)
 alleges injuries for both
   Attwan and Ibrahim
Mahmoud Ibrahim Musa
(who is not a plaintiff) in
      the same entry



                                                                                                                                                                                                                                   (1) Property damage / loss alleged insufficient to support
                                                                                                                                                                                                                                   ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                                   claim;
                                                                                                         “Family driven from home. . . . As a result of the conduct engaged in by                                                  (2) U.S. citizen who cannot assert an ATS claim;
         Susan                                                                     U.S. (AC, Ex. C at                                                                                        1967
                              AC, Ex. C at 46-47       Yes.            No.                               both G4S and IDF personnel, the Palestinian families were dismantled,                                     Barred          (3) To extent injury was allegedly inflicted by G4S, the
        Abulhawa                                                                         46-47)
                                                                                                                    scattered and traumatized.” (AC, Ex. C at 46-47)                                                               Complaint fails to allege any connection between G4S
                                                                                                                                                                                                                                   and any of the moving Defendants;
                                                                                                                                                                                                                                   (4) To extent injury was allegedly inflicted by the IDF,
                                                                                                                                                                                                                                   claims premised on conduct of Israeli military are waived.


                                                                                                                                                                                                                                   Fails to allege injury that is fairly traceable to any moving
                                                                                                                                                                                                                                   Defendant:

                                                                                   U.S. (AC, Ex. C at     “Either G4S or Israeli personnel shot him with a Dum Dum bullet . . .              1989                                  (1) To extent injury was allegedly inflicted by G4S, the
     Waddah Sofan              AC, Ex. C at 48         Yes.           Yes.                                                                                                                                         Barred
                                                                                          48)                 caus[ing] him to be permanently disabled.” (AC, Ex. C at 48)                                                         Complaint fails to allege any connection between G4S
                                                                                                                                                                                                                                   and any of the moving Defendants;
                                                                                                                                                                                                                                   (2) To extent injury was allegedly inflicted by the IDF,
                                                                                                                                                                                                                                   claims premised on conduct of Israeli military are waived.


                                                                                                        “Violent new settlers and IDF forces . . . were responsible for driving his
                                                                                                         family from Dair Debwan. . . . He subsequently relocated to Jericho, but
                                                                                                                                                                                                                                   Property damage / loss alleged insufficient to support
          Wafa                                                                                             was driven again from his home in 1967 by violent settlers" and they         1948 and 1967
                              AC, Ex. C at 48-49       Yes.            No.               None                                                                                                                      Barred          ATS claim and unavailable as a matter of law for TVPA
        Nijmeddin                                                                                        "destroy[ed] the improvements he made on that property. ... [H]e seeks
                                                                                                                                                                                                                                   claim
                                                                                                        additional compensation for the loss of her [sic] uncle who was murdered
                                                                                                                     by IDF or G4S personnel.” (AC, Ex. C at 48-49)



       Reham Al-                                                                                        “This Plaintiff died as a result of extensive rocket bombing by IAF pilots,
                                                                                                                                                                                                                                   Claim waived because premised on conduct of Israeli
    Bur’i, as next of          AC, Ex. C at 1-2        Yes.           Yes.               None           which was coordinated by G4S and IDF ground personnel.” (AC, Ex. C at               None              Potentially Barred
                                                                                                                                                                                                                                   military
  kin of A’id Al-Bur’i                                                                                                                       1-2)




                                                                                                                                                                                                                                                                                                   2
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                                                                           BACKGROUND                                                                                           STATUTE OF LIMITATIONS               SELECTED STANDING / PLEADING DEFICIENCY


                                                    Israeli        Injury
                                                   Military      Allegedly
                                 Location
                                                  Alleged To      Based on        Alleged                                                                                     Alleged Date of   Barred by Statute
          Name                       of                                                                                      Alleged Injury                                                                               Selected Standing and Pleading Deficiency
                                                 Have Played    Direct Israeli   Citizenship                                                                                      Injury         of Limitations
                                Allegations
                                                 Some Role in     Military
                                                    Injury         Action


 Ibrahim Abu- Teer, as                                                                          “Repeated Israeli bombardments by IAF pilots killed him. . . . The IAF
                                                                                                                                                                                                                     Claim waived because premised on conduct of Israeli
 next of kin of Ahmad         AC, Ex. C at 3         Yes.           Yes.            None        pilots [sic] precision bombing was coordinated by IDF and G4S ground               None         Potentially Barred
                                                                                                                                                                                                                     military
       Abu-Teer                                                                                                         personnel.” (AC, Ex. C at 3)


        Dharifa
      Sahamour, as
      next of kin of                                                                           “Israeli soldiers assisted by G4S personnel and violent settlers were able
         Ahmed                                                                                 to locate and target Mr. Sahmour and eventually killed him. . . . The IDF                                             Claim waived because premised on conduct of Israeli
                              AC, Ex. C at 3-4       Yes.           Yes.            None                                                                                           None         Potentially Barred
       Sahamour                                                                                             soldiers were able to target and locate him . . . .”                                                     military
                                                                                                                            (AC, Ex. C at 3-4)
Spelling in AC, Ex. C is
       Sahmour


     Abdullah Abu-
                                                                                                    “With the assistance of G4S personnel and settlers employing
    Salah, as next of                                                                                                                                                                                                Claim waived because premised on conduct of Israeli
                              AC, Ex. C at 4         Yes.           Yes.            None       sophisticated HP/Motorola tracking devices, Israeli soldiers were able to           None         Potentially Barred
     kin of Ahmed                                                                                                                                                                                                    military
                                                                                                               shoot him in the head.” (AC, Ex. C at 4)
       Abu-Salah


     Ali Abu-Teer,
    as next of kin of
    Shadi Abu-Teer
                                                                                                “There were a series of Israeli bombardments by IAF pilots, which were
                                                                                                coordinated by G4S, and IDF ground forces. . . . The bombardments did
AC, Ex. C provides that                                                                                                                                                                                              Claim waived because premised on conduct of Israeli
                              AC, Ex. C at 5         Yes.           Yes.            None       not initially kill him, but because of IDF soldiers impeding the progress of        None         Potentially Barred
 Shadi is next of kin of                                                                                                                                                                                             military
                                                                                               an emergency ambulance by the time he arrived at the emergency room he
  Ali, though the case
                                                                                                                         was dead.” (AC, Ex. C at 5)
caption lists the plaintiff
 as Ali, as next of kin of
          Shadi


                                                                                                                                                                                                                     (1) Claim waived because premised on conduct of Israeli
                                                                                                “There were a series of Israeli bombardments by IAF pilots, which were                                               military;
      Amani Abu-
                              AC, Ex. C at 6-7       Yes.           Yes.            None          coordinated by G4S, and IDF ground forces. These bombardments                    2014                              (2) Property damage / loss alleged insufficient to support
        Teer
                                                                                                         completely destroyed her house.” (AC, Ex. C at 6-7)                                                         ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                     claim.


         Anwar                                                                                                                                                                                                       (1) Claim waived because premised on conduct of Israeli
        Dahaleez                                                                                “There were a series of Israeli bombardments by IAF pilots, which were                                               military;
                              AC, Ex. C at 7         Yes.           Yes.            None          coordinated by G4S, and IDF ground forces. These bombardments                    2014                              (2) Property damage / loss alleged insufficient to support
Spelling in AC, Ex. C is                                                                                  completely destroyed his house.” (AC, Ex. C at 7)                                                          ATS claim and unavailable as a matter of law for TVPA
        Dahleez                                                                                                                                                                                                      claim.


                                                                                                                                                                                                                     (1) Claim waived because premised on conduct of Israeli
                                                                                                “There were a series of Israeli bombardments by IAF pilots, which were                                               military;
       Awad Naim              AC, Ex. C at 8         Yes.           Yes.            None       coordinated by G4S, and IDF ground forces. These bombardments largely               2014                              (2) Property damage / loss alleged insufficient to support
                                                                                                      destroyed his house making it unsuitable.” (AC, Ex. C at 8)                                                    ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                     claim.




                                                                                                                                                                                                                                                                                  3
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                                                                            BACKGROUND                                                                                       STATUTE OF LIMITATIONS               SELECTED STANDING / PLEADING DEFICIENCY


                                                     Israeli        Injury
                                                    Military      Allegedly
                                Location
                                                   Alleged To      Based on        Alleged                                                                                 Alleged Date of   Barred by Statute
         Name                       of                                                                                      Alleged Injury                                                                             Selected Standing and Pleading Deficiency
                                                  Have Played    Direct Israeli   Citizenship                                                                                  Injury         of Limitations
                               Allegations
                                                  Some Role in     Military
                                                     Injury         Action


      Ahmed Abo
       Rahmah
                                                                                                “Plaintiff Abu-Rahmen was intentionally hit by a U.S. manufactured gas
                                                                                                bomb type ‘rocket,’ which was supplied by Orbital ATK. . . . He bled out                                          Claim waived because premised on conduct of Israeli
Spelling in AC, Ex. C is    AC, Ex. C at 8-9          Yes.           Yes.            None                                                                                       None         Potentially Barred
                                                                                                 while waiting for an emergency ambulance, which IDF/G4S personnel                                                military
   Abu- Rahmeh and
                                                                                                            intentionally interfered with.” (AC, Ex. C at 8-9)
Rahmen, and first names
  are Basem Ibrahim



                                                                                                                                                                                                                  (1) Claim waived because premised on conduct of Israeli
                                                                                                “There were a series of Israeli bombardments by IAF pilots, which were                                            military;
      Bassam Al-
                             AC, Ex. C at 9           Yes.           Yes.            None         coordinated by G4S, and IDF ground forces. These bombardments                 2014                              (2) Property damage / loss alleged insufficient to support
        Nawiri
                                                                                                          completely destroyed his house.” (AC, Ex. C at 9)                                                       ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                  claim.


                                                                                                                                                                                                                  (1) Claim waived because premised on conduct of Israeli
                                                                                                "There were a series of Israeli bombardments by IAF pilots, which were                                            military;
    Bassem Baraka           AC, Ex. C at 10           Yes.           Yes.            None         coordinated by G4S, and IDF ground forces. These bombardments                 2014                              (2) Property damage / loss alleged insufficient to support
                                                                                                         completely destroyed his house.” (AC, Ex. C at 10)                                                       ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                  claim.

                                                                                                  “The death of Plaintiff Abu Amer’s 14 family members is only one
                                                                                                example of that horrendous criminal activity [the Israeli army’s ongoing
                                                                                                            campaign of wholesale violence].” (AC at ¶ 40)
       Doa’a Abu
                            AC at ¶¶ 40, 172,
    Amer, as next of
                           187(a), 196(a), 216,                                                  "On July 29, 2014, an Israeli Air Force (F16) war plane, in conjunction    July 29, 2014                         Claim waived because premised on conduct of Israeli
        kin of 14                                     Yes.           Yes.            None
                                                                                                    with the 2014 invasion of the Gaza strip, intentionally dropped a                                             military
    individuals with
                            AC, Ex. C at 11                                                        munitions-grade cluster bomb on the kindergarten facility where her
     last name “A”
                                                                                                    family members had taken refuge. The pilots . . . were assisted in
                                                                                                 identifying this bombing site by IDF and G4S ground personnel.” (AC,
                                                                                                                               Ex. C at 11)


                                                                                                                                                                                                                  (1) Claim waived because premised on conduct of Israeli
                                                                                                “There were a series of Israeli bombardments by IAF pilots, which were                                            military;
    Eyad Abu-Teer          AC, Ex. C at 12-13         Yes.           Yes.            None         coordinated by G4S, and IDF ground forces. These bombardments                 2014                              (2) Property damage / loss alleged insufficient to support
                                                                                                        completely destroyed his house.” (AC, Ex. C at 12-13)                                                     ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                  claim.


                                                                                                                                                                                                                  (1) Claim waived because premised on conduct of Israeli
                                                                                                “There were a series of Israeli bombardments by IAF pilots, which were                                            military;
      Fathi Naim            AC, Ex. C at 14           Yes.           Yes.            None         coordinated by G4S, and IDF ground forces. These bombardments                 2014                              (2) Property damage / loss alleged insufficient to support
                                                                                                 partially destroyed his house making it unsuitable.” (AC, Ex. C at 14)                                           ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                  claim.

                                                                                                                                                                                                                  (1) Claim waived because premised on conduct of Israeli
                                                                                                “There were a series of Israeli bombardments by IAF pilots, which were                                            military;
      Hamza Abu-
                           AC, Ex. C at 14-15         Yes.           Yes.            None         coordinated by G4S, and IDF ground forces. These bombardments                 2014                              (2) Property damage / loss alleged insufficient to support
        Mutlaq
                                                                                                         completely destroyed his house.” (AC, Ex. C at 14)                                                       ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                  claim.




                                                                                                                                                                                                                                                                               4
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                                                                          BACKGROUND                                                                                           STATUTE OF LIMITATIONS               SELECTED STANDING / PLEADING DEFICIENCY


                                                   Israeli        Injury
                                                  Military      Allegedly
                               Location
                                                 Alleged To      Based on        Alleged                                                                                     Alleged Date of    Barred by Statute
         Name                      of                                                                                      Alleged Injury                                                                                Selected Standing and Pleading Deficiency
                                                Have Played    Direct Israeli   Citizenship                                                                                      Injury          of Limitations
                              Allegations
                                                Some Role in     Military
                                                   Injury         Action



                                                                                                                                                                                                                    (1) Claim waived because premised on conduct of Israeli
                                                                                               “There were a series of Israeli bombardments by IAF pilots, which were                                               military;
     Hamza Abu-
                            AC, Ex. C at 15         Yes.           Yes.            None          coordinated by G4S, and IDF ground forces. These bombardments                    2014                              (2) Property damage / loss alleged insufficient to support
        Teer
                                                                                                        completely destroyed his house.” (AC, Ex. C at 15)                                                          ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                    claim.


     Medhat Abu-                                                                               "With the assistance of IDF and G4S ground personnel, IAF pilots were
    Yousef, as next                                                                           able to inflict a number of aerial bombardments on Plaintiff Abu-Yousef. .                                            Claim waived because premised on conduct of Israeli
                           AC, Ex. C at 15-16       Yes.           Yes.            None                                                                                           2014
    of kin of Hanafi                                                                                         . . Those attacks caused him to bleed to death.”                                                       military
      Abu-Yousef                                                                                                           (AC, Ex. C at 15-16)

                                                                                                                                                                                                                    (1) Claim waived because premised on conduct of Israeli
                                                                                               “There were a series of Israeli bombardments by IAF pilots, which were                                               military;
      Hayat Abu-
                            AC, Ex. C at 17         Yes.           Yes.            None          coordinated by G4S, and IDF ground forces. These bombardments                    2014                              (2) Property damage / loss alleged insufficient to support
       Dharifa
                                                                                                        completely destroyed her house.” (AC, Ex. C at 17)                                                          ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                    claim.


                                                                                              "Plaintiff Barghouthi lost her brother while he was back from the U.S. to
                                                                                                                    visit family" (AC at ¶ 187(a))
Hiba Barghouthi, as next     AC at ¶ 187(a)                                                                                                                                 December 14, 2015
                                                                                                                                                                                                                    Claim waived because premised on conduct of Israeli
 of kin of Abdelrahman                              Yes.           Yes.            None
                                                                                               “3 IDF soldiers confronted [Abdelrahman Barghouthi] and stopped him                                                  military
       Barghouthi           AC, Ex. C at 18
                                                                                              from continuing. While his hands were up, they intentionally shot him . . .
                                                                                                          letting him bleed out and die.” (AC, Ex. C at 18)


Nadhami Abu- Teer, as
                                                                                                                                                                                                                    (1) Claim waived because premised on conduct of Israeli
next of kin of Hudhifa                                                                        “There were a series of Israeli bombardments by IAF pilots, which were
                                                                                                                                                                                                                    military;
      Abu-Teer                                                                                  coordinated by G4S, and IDF ground forces. These bombardments                     2014
                           AC, Ex. C at 18-19       Yes.           Yes.            None                                                                                                                             (2) Property damage / loss alleged insufficient to support
                                                                                              completely destroyed Plaintiff Abu-Teer son’s house.” (AC, Ex. C at 18-
                                                                                                                                                                                                                    ATS claim and unavailable as a matter of law for TVPA
Spelling in AC, Ex. C is                                                                                                         19)
                                                                                                                                                                                                                    claim.
        Hudaifa

                                                                                                                                                                                                                    (1) Claim waived because premised on conduct of Israeli
                                                                                              “His farm was damaged as a result of the 2014 invasion on the Gaza strip                                              military;
    Hussein Tabash          AC, Ex. C at 20         Yes.           Yes.            None                as well as the occupation of IDF and G4S personnel.”                       2014                              (2) Property damage / loss alleged insufficient to support
                                                                                                                          (AC, Ex. C at 20)                                                                         ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                    claim.

                                                                                                                                                                                                                    (1) Claim waived because premised on conduct of Israeli
     Amal Qablan,                                                                              “There were a series of Israeli bombardments by IAF pilots, which were                                               military;
    as next of kin of      AC, Ex. C at 20-21       Yes.           Yes.            None          coordinated by G4S, and IDF ground forces. These bombardments                    2014                              (2) Property damage / loss alleged insufficient to support
    Ibrahim Qablan                                                                                      completely destroyed his house.” (AC, Ex. C at 20)                                                          ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                    claim.

                                                                                                                                                                                                                    (1) Claim waived because premised on conduct of Israeli
                                                                                               “There were a series of Israeli bombardments by IAF pilots, which were                                               military;
     Ibrahim Abu-
                           AC, Ex. C at 22-23       Yes.           Yes.            None          coordinated by G4S, and IDF ground forces. These bombardments                    2014                              (2) Property damage / loss alleged insufficient to support
          Eid
                                                                                                        completely destroyed his house.” (AC, Ex. C at 22)                                                          ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                    claim.




                                                                                                                                                                                                                                                                                 5
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                                                                           BACKGROUND                                                                                           STATUTE OF LIMITATIONS               SELECTED STANDING / PLEADING DEFICIENCY


                                                    Israeli        Injury
                                                   Military      Allegedly
                                Location
                                                  Alleged To      Based on        Alleged                                                                                     Alleged Date of   Barred by Statute
         Name                       of                                                                                       Alleged Injury                                                                               Selected Standing and Pleading Deficiency
                                                 Have Played    Direct Israeli   Citizenship                                                                                      Injury         of Limitations
                               Allegations
                                                 Some Role in     Military
                                                    Injury         Action



                                                                                                                                                                                                                     (1) Claim waived because premised on conduct of Israeli
                                                                                                “There were a series of Israeli bombardments by IAF pilots, which were                                               military;
       Ibrahim
                             AC, Ex. C at 23         Yes.           Yes.            None          coordinated by G4S, and IDF ground forces. These bombardments                    2014                              (2) Property damage / loss alleged insufficient to support
       Ramadan
                                                                                                         completely destroyed his house.” (AC, Ex. C at 23)                                                          ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                     claim.


                                                                                                                                                                                                                     (1) Claim waived because premised on conduct of Israeli
                                                                                                “There were a series of Israeli bombardments by IAF pilots, which were                                               military;
      Ibrahim Al-                                                                                                                                                                  2014
                            AC, Ex. C at 23-24       Yes.           Yes.            None          coordinated by G4S, and IDF ground forces. These bombardments                                                      (2) Property damage / loss alleged insufficient to support
         Nadir
                                                                                                         completely destroyed his house.” (AC, Ex. C at 23)                                                          ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                     claim.

                                                                                                                                                                                                                     (1) Claim waived because premised on conduct of Israeli
    Shireen Qablan,                                                                             “There were a series of Israeli bombardments by IAF pilots, which were
                                                                                                                                                                                                                     military;
    as next of kin of                                                                             coordinated by G4S, and IDF ground forces. These bombardments
                             AC, Ex. C at 25         Yes.           Yes.            None                                                                                           None         Potentially Barred   (2) Property damage / loss alleged insufficient to support
     Ibrahim Abu-                                                                                 completely destroyed the family home and killed Plaintiff Qablan’s
                                                                                                                                                                                                                     ATS claim and unavailable as a matter of law for TVPA
         Qablan                                                                                                       husband.” (AC, Ex. C at 25)
                                                                                                                                                                                                                     claim.

                                                                                                                                                                                                                     (1) Claim waived because premised on conduct of Israeli
      Hayat Abu-                                                                                “There were a series of Israeli bombardments by IAF pilots, which were
                                                                                                                                                                                                                     military;
    Dharifa, as next                                                                              coordinated by G4S, and IDF ground forces. These bombardments
                            AC, Ex. C at 25-26       Yes.           Yes.            None                                                                                           2014                              (2) Property damage / loss alleged insufficient to support
    of kin of Ismail                                                                              completely destroyed Plaintiff Abu-Dharifa’s house and killed her
                                                                                                                                                                                                                     ATS claim and unavailable as a matter of law for TVPA
     Abu-Dharifa                                                                                                      husband.” (AC, Ex. C at 25)
                                                                                                                                                                                                                     claim.

                                                                                                                                                                                                                     (1) Claim waived because premised on conduct of Israeli
                                                                                                “There were a series of Israeli bombardments by IAF pilots, which were                                               military;
                                                                                                                                                                                   2014
     Jamal Darduna           AC, Ex. C at 26         Yes.           Yes.            None          coordinated by G4S, and IDF ground forces. These bombardments                                                      (2) Property damage / loss alleged insufficient to support
                                                                                                         completely destroyed his house.” (AC, Ex. C at 26)                                                          ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                     claim.

 Ibrahim Abu- Teer, as                                                                         “There were a series of Israeli bombardments by IAF pilots, which were
                                                                                                                                                                                                                     Claim waived because premised on conduct of Israeli
next of kin of Kamal Abu-    AC, Ex. C at 28         Yes.           Yes.            None       coordinated by G4S, and IDF ground forces. These bombardments killed                2014
                                                                                                                                                                                                                     military
           Teer                                                                                              Plaintiff Abu-Teer’s son.” (AC, Ex. C at 28)

                                                                                                                                                                                                                     (1) Claim waived because premised on conduct of Israeli
                                                                                                “There were a series of Israeli bombardments by IAF pilots, which were
                                                                                                                                                                                                                     military;
                                                                                                  coordinated by G4S, and IDF ground forces. These bombardments
      Khalid Naim           AC, Ex. C at 28-29       Yes.           Yes.            None                                                                                           2014                              (2) Property damage / loss alleged insufficient to support
                                                                                                         partially destroyed his house making it unsuitable.”
                                                                                                                                                                                                                     ATS claim and unavailable as a matter of law for TVPA
                                                                                                                          (AC, Ex. C at 28-29)
                                                                                                                                                                                                                     claim.

                                                                                                                                                                                                                     (1) Claim waived because premised on conduct of Israeli
                                                                                               “With the assistance of G4S personnel and the employment of Volvo front                                               military;
     Khalil Tabash           AC, Ex. C at 29         Yes.           Yes.            None       loaders, Israeli soldiers and IAF pilots damaged his farm as a result of the        2014                              (2) Property damage / loss alleged insufficient to support
                                                                                                                  2014 war on Gaza.” (AC, Ex. C at 29)                                                               ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                     claim.

                                                                                                                                                                                                                     (1) Claim waived because premised on conduct of Israeli
                                                                                                “There were a series of Israeli bombardments by IAF pilots, which were                                               military;
                                                                                                                                                                                   2014
     Khalil Al-‘Ash         AC, Ex. C at 29-30       Yes.           Yes.            None          coordinated by G4S, and IDF ground forces. These bombardments                                                      (2) Property damage / loss alleged insufficient to support
                                                                                                        completely destroyed his house.” (AC, Ex. C at 29-30)                                                        ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                     claim.




                                                                                                                                                                                                                                                                                  6
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                                                                                BACKGROUND                                                                                         STATUTE OF LIMITATIONS               SELECTED STANDING / PLEADING DEFICIENCY


                                                         Israeli        Injury
                                                        Military      Allegedly
                                 Location
                                                       Alleged To      Based on        Alleged                                                                                   Alleged Date of   Barred by Statute
         Name                        of                                                                                          Alleged Injury                                                                              Selected Standing and Pleading Deficiency
                                                      Have Played    Direct Israeli   Citizenship                                                                                    Injury         of Limitations
                                Allegations
                                                      Some Role in     Military
                                                         Injury         Action


                                                                                                                                                                                                                        (1) Claim waived because premised on conduct of Israeli
                                                                                                     “There were a series of Israeli bombardments by IAF pilots, which were
                                                                                                                                                                                                                        military;
      Muhammad                                                                                         coordinated by G4S, and IDF ground forces. These bombardments
                            AC, Ex. C at 34-35            Yes.           Yes.            None                                                                                         2014                              (2) Property damage / loss alleged insufficient to support
      Abu-Mutlaq                                                                                                          partially destroyed his house.”
                                                                                                                                                                                                                        ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                 (AC, Ex. C at 34)
                                                                                                                                                                                                                        claim.

                                                                                                      “After IAF pilots engaged in a series of carpet bombing, IDF and G4S
Mamdouh Al- Qara, as                                                                                personnel engaged in a vicious criminal campaign to inflict serious bodily
                                                                                                                                                                                                                        Claim waived because premised on conduct of Israeli
   next of kin of           AC, Ex. C at 35-36            Yes.           Yes.            None        harm and/or the murder of all Palestinians who survived . . . Muhammad           None         Potentially Barred
                                                                                                                                                                                                                        military
 Muhammad Al-Qara                                                                                     Al-Qara was one of those innocent unarmed Gaza civilians who were
                                                                                                                murdered in this campaign.” (AC, Ex. C at 35-36)



                               AC, Ex. C at 36
                             contains allegations
     Majid Abu-
                           regarding "Muhammad
    Teer, as next of
                              Majid Elyan Abu-                                                                                                                                                                          (1) Claim waived because premised on conduct of Israeli
        kin of                                                                                      “There were a series of Israeli bombardments by IAF pilots, which were
                             Teer." It is not clear                                                                                                                                                                     military;
     Muhammad                                                                                         coordinated by G4S, and IDF ground forces. These bombardments
                            whether this person is        Yes.           Yes.            None                                                                                         2014                              (2) Property damage / loss alleged insufficient to support
    Abu-Teer No. 1                                                                                  completely destroyed Plaintiff’s house and killed his son.” (AC, Ex. C at
                           "Muhammad Abu Teer                                                                                                                                                                           ATS claim and unavailable as a matter of law for TVPA
          and                                                                                                                          36)
                           No. 1" or "Muhammad                                                                                                                                                                          claim.
     Muhammad
                             Abu Teer No. 2" as
    Abu Teer No. 2
                            identified in the case
                                   caption.



     Ra’fat Baraka,
    as next of kin of
      Muhammad                                                                                       “There were a series of Israeli bombardments by IAF pilots, which were
                                                                                                                                                                                                                        Claim waived because premised on conduct of Israeli
         Baraka              AC, Ex. C at 36-37           Yes.           Yes.            None       coordinated by G4S, and IDF ground forces. These bombardments by IDF              None         Potentially Barred
                                                                                                                                                                                                                        military
                                                                                                          and G4S personnel killed Mr. Baraka.” (AC, Ex. C at 36-37)
Spelling in AC, Ex. C is
         Raafat


                                                                                                                                                                                                                        (1) Claim waived because premised on conduct of Israeli
                                                                                                     “There were a series of Israeli bombardments by IAF pilots, which were
                                                                                                                                                                                                                        military;
       Musa Al-                                                                                        coordinated by G4S, and IDF ground forces. These bombardments
                              AC, Ex. C at 37             Yes.           Yes.            None                                                                                         2014                              (2) Property damage / loss alleged insufficient to support
       Shinbari                                                                                                   completely destroyed his rented apartment.”
                                                                                                                                                                                                                        ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                 (AC, Ex. C at 37)
                                                                                                                                                                                                                        claim.


                                                                                                                                                                                                                        (1) Claim waived because premised on conduct of Israeli
                                                                                                     “There were a series of Israeli bombardments by IAF pilots, which were                                             military;
       Musa Al-                                                                                                                                                                       2014
                             AC, Ex. C at 37-38           Yes.           Yes.            None          coordinated by G4S, and IDF ground forces. These bombardments                                                    (2) Property damage / loss alleged insufficient to support
       Kafarna
                                                                                                             completely destroyed his house.” (AC, Ex. C at 37-38)                                                      ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                        claim.


                                                                                                                                                                                                                        (1) Claim waived because premised on conduct of Israeli
                                                                                                     “There were a series of Israeli bombardments by IAF pilots, which were                                             military;
    Nazeeh Tabash             AC, Ex. C at 38             Yes.           Yes.            None          coordinated by G4S, and IDF ground forces. These bombardments                  2014                              (2) Property damage / loss alleged insufficient to support
                                                                                                              completely destroyed his house.” (AC, Ex. C at 38)                                                        ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                        claim.




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                                                                          BACKGROUND                                                                                         STATUTE OF LIMITATIONS               SELECTED STANDING / PLEADING DEFICIENCY


                                                   Israeli        Injury
                                                  Military      Allegedly
                               Location
                                                 Alleged To      Based on        Alleged                                                                                   Alleged Date of   Barred by Statute
         Name                      of                                                                                      Alleged Injury                                                                              Selected Standing and Pleading Deficiency
                                                Have Played    Direct Israeli   Citizenship                                                                                    Injury         of Limitations
                              Allegations
                                                Some Role in     Military
                                                   Injury         Action


                                                                                                                                                                                                                  (1) Claim waived because premised on conduct of Israeli
                                                                                              “There were a series of Israeli bombardments by IAF pilots, which were                                              military;
      Nidal Salah          AC, Ex. C at 38-39       Yes.           Yes.            None         coordinated by G4S, and IDF ground forces. These bombardments                   2014                              (2) Property damage / loss alleged insufficient to support
                                                                                                      completely destroyed his house.” (AC, Ex. C at 38-39)                                                       ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                  claim.


                                                                                                “After IAF pilots engaged in a series of carpet bombing, IDF and G4S
      Safwat Abu-                                                                             personnel engaged in a vicious criminal campaign to inflict serious bodily
                                                                                                                                                                                                                  Claim waived because premised on conduct of Israeli
    Teer, as next of       AC, Ex. C at 39-40       Yes.           Yes.            None        harm and/or the murder of all Palestinians who survived . . . Nour Abu-          None         Potentially Barred
                                                                                                                                                                                                                  military
 kin of Nour Abu-Teer                                                                             Teer was one of those innocent unarmed Gaza civilians who were
                                                                                                          murdered in this campaign.” (AC, Ex. C at 39-40)

      Ossama Ali
                                                                                                                                                                                                                  (1) Claim waived because premised on conduct of Israeli
      Ahmed Abo
                                                                                              “There were a series of Israeli bombardments by IAF pilots, which were                                              military;
        Hassan                                                                                                                                                                  2014
                            AC, Ex. C at 40         Yes.           Yes.            None         coordinated by G4S, and IDF ground forces. These bombardments                                                     (2) Property damage / loss alleged insufficient to support
                                                                                                       completely destroyed his house.” (AC, Ex. C at 40)                                                         ATS claim and unavailable as a matter of law for TVPA
Spelling in AC, Ex. C is
                                                                                                                                                                                                                  claim.
        Osama

                                                                                                                                                                                                                  (1) Claim waived because premised on conduct of Israeli
                                                                                              “There were a series of Israeli bombardments by IAF pilots, which were
                                                                                                                                                                                                                  military;
                                                                                                coordinated by G4S, and IDF ground forces. These bombardments
    Rami Abu-Teer          AC, Ex. C at 42-43       Yes.           Yes.            None                                                                                         2014                              (2) Property damage / loss alleged insufficient to support
                                                                                                            partially completely destroyed his house.”
                                                                                                                                                                                                                  ATS claim and unavailable as a matter of law for TVPA
                                                                                                                        (AC, Ex. C at 42-43)
                                                                                                                                                                                                                  claim.


                                                                                                                                                                                                                  (1) Claim waived because premised on conduct of Israeli
                                                                                              “There were a series of Israeli bombardments by IAF pilots, which were                                              military;
   Rashad Taweela           AC, Ex. C at 43         Yes.           Yes.            None         coordinated by G4S, and IDF ground forces. These bombardments                   2014                              (2) Property damage / loss alleged insufficient to support
                                                                                                       completely destroyed his house.” (AC, Ex. C at 43)                                                         ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                  claim.


                                                                                                                                                                                                                  (1) Claim waived because premised on conduct of Israeli
                                                                                              “There were a series of Israeli bombardments by IAF pilots, which were                                              military;
     Safwat Abu-
                            AC, Ex. C at 44         Yes.           Yes.            None         coordinated by G4S, and IDF ground forces. These bombardments                   2014                              (2) Property damage / loss alleged insufficient to support
        Teer
                                                                                                       completely destroyed his house.” (AC, Ex. C at 44)                                                         ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                  claim.


                                                                                                                                                                                                                  (1) Claim waived because premised on conduct of Israeli
                                                                                                “IDF and G4S personnel courtesy of carpet-bombing from IAF pilots                                                 military;
      Salim Abu-
                           AC, Ex. C at 44-45       Yes.           Yes.            None        severely damaged his farm as a result of the 2014 invasion of the Gaza           2014                              (2) Property damage / loss alleged insufficient to support
         Salah
                                                                                                                   strip.” (AC, Ex. C at 44-45)                                                                   ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                  claim.


                                                                                                                                                                                                                  (1) Claim waived because premised on conduct of Israeli
                                                                                              “There were a series of Israeli bombardments by IAF pilots, which were                                              military;
    Sami Abu-Teer           AC, Ex. C at 45         Yes.           Yes.            None         coordinated by G4S, and IDF ground forces. These bombardments                   2014                              (2) Property damage / loss alleged insufficient to support
                                                                                                       completely destroyed his house.” (AC, Ex. C at 45)                                                         ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                  claim.




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                                                                           BACKGROUND                                                                                                   STATUTE OF LIMITATIONS               SELECTED STANDING / PLEADING DEFICIENCY


                                                    Israeli        Injury
                                                   Military      Allegedly
                                Location
                                                  Alleged To      Based on          Alleged                                                                                           Alleged Date of   Barred by Statute
         Name                       of                                                                                             Alleged Injury                                                                                 Selected Standing and Pleading Deficiency
                                                 Have Played    Direct Israeli     Citizenship                                                                                            Injury         of Limitations
                               Allegations
                                                 Some Role in     Military
                                                    Injury         Action



 Muhammad Abu-Teer                                                                                    “There were a series of Israeli bombardments by IAF pilots, which were
                                                                                                                                                                                                                             Claim waived because premised on conduct of Israeli
 No. 3, as next of kin of   AC, Ex. C at 46-47       Yes.           Yes.               None             coordinated by G4S, and IDF ground forces. These bombardments                      2014
                                                                                                                                                                                                                             military
  Suleiman Abu-Teer                                                                                         completely killed Suleiman Abu-Teer.” (AC, Ex. C at 46)


                                                                                                      “There were a series of Israeli bombardments by IAF pilots, which were
      Tagrid Abu-                                                                                        coordinated by G4S, and IDF ground forces. These bombardments                                                       Claim waived because premised on conduct of Israeli
                             AC, Ex. C at 47         Yes.           Yes.               None                                                                                                2014
         Teer                                                                                          completely destroyed Plaintiff Abu-Teer’s legs causing her to become                                                  military
                                                                                                                     permanently disabled.” (AC, Ex. C at 47)
 Mamdouh Al- Qara, as
                                                                                                           “An unmanned Israeli aircraft killed Mr. Al-Qara as it targeted                                                   Claim waived because premised on conduct of Israeli
next of kin of Wala’a Al-    AC, Ex. C at 49         Yes.           Yes.               None                                                                                                None         Potentially Barred
                                                                                                                    Palestinian civilians.” (AC, Ex. C at 49)                                                                military
           Qara
                                                                                                                                                                                                                             (1) Claim waived because premised on conduct of Israeli
                                                                                                      “There were a series of Israeli bombardments by IAF pilots, which were                                                 military;
      Younis Abu-
                            AC, Ex. C at 49-50       Yes.           Yes.               None             coordinated by G4S, and IDF ground forces. These bombardments                      2014                              (2) Property damage / loss alleged insufficient to support
         Teer
                                                                                                               completely destroyed his house.” (AC, Ex. C at 49)                                                            ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                             claim.
                                                                                                                                                                                                                             (1) Claim waived because premised on conduct of Israeli
      Safwat Abu-                                                                                     “There were a series of Israeli bombardments by IAF pilots, which were                                                 military;
    Teer, as next of         AC, Ex. C at 50         Yes.           Yes.               None             coordinated by G4S, and IDF ground forces. These bombardments                      2014                              (2) Property damage / loss alleged insufficient to support
kin of Zeinab Abu-Teer                                                                                         completely destroyed her house.” (AC, Ex. C at 50)                                                            ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                                                                                                             claim.

                                                                                                       “Settlement militia members and security coordinators, with IDF/G4S
    Abbas Hamideh
                                                                                                     active assistance, initially confiscated . . . and continued to confiscate the
                                                                                                      remaining family land in Ras Karkar.” Damages claim is "based on the
AC, Ex. C contains two      AC, Ex. C. at 2-3        Yes.            No.               None                                                                                                None         Potentially Barred   No injury in fact as claim based on loss of family land
                                                                                                          murder of his family members and the confiscation of his private
 separate entries for
                                                                                                     property." "IDF/G4S personnnel" are listed as “Eventuating Perpetrators”
   Abbas Hamideh
                                                                                                       IDF is listed as a “Receiving/Distributing Entity.” (AC, Ex. C at 2-3)

     Ismail Deik, as
         personal                                                                                     "Assisted by G4S and IDF personnel violent armed militia from Beith
      representative        AC, Ex. C at 13-14       Yes.            No.               None           HaArava settlement illegally confiscated approximately 500 dunams of                 None         Potentially Barred   No injury in fact as claim based on loss of family land
        of Family                                                                                                   the family’s land.” (AC, Ex. C at 13-14)
         Husseini
                                                                                       None
                                                                                                      “Plaintiff’s family was forcibly expelled from his home . . . by IDF and                                               Property damage / loss alleged insufficient to support
     Abdur-Rahim
                              AC, Ex. C at 3         Yes.            No.         U.S. residence is             new violent settlers funded by JNF and Bank Leumi.”                         None         Potentially Barred   ATS claim and unavailable as a matter of law for TVPA
        Dudar
                                                                                 provided in the                                  (AC, Ex. C at 3)                                                                           claim
                                                                                      caption
                                                                                       None
                                                                                                        “Violent armed settlers assisted by Israeli soldiers and G4S personnel                                               Property damage / loss alleged insufficient to support
         Ali Ali             AC, Ex. C at 5-6        Yes.            No.         U.S. residence is   illegally confiscated twenty-five acres of Mr. Ali’s land.” (AC, Ex. C at 5-          None         Potentially Barred   ATS claim and unavailable as a matter of law for TVPA
                                                                                 provided in the                                          6)                                                                                 claim
                                                                                      caption




                                                                                                                                                                                                                                                                                          9
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                                                                               BACKGROUND                                                                                              STATUTE OF LIMITATIONS               SELECTED STANDING / PLEADING DEFICIENCY


                                                        Israeli        Injury
                                                       Military      Allegedly
                                  Location
                                                      Alleged To      Based on        Alleged                                                                                        Alleged Date of   Barred by Statute
          Name                        of                                                                                          Alleged Injury                                                                                 Selected Standing and Pleading Deficiency
                                                     Have Played    Direct Israeli   Citizenship                                                                                         Injury         of Limitations
                                 Allegations
                                                     Some Role in     Military
                                                        Injury         Action




 Hashim Yousef, in his
   official capacity as
President of The Society
for Farmers’ Rights and
   the Preservation of                                                                              Hashim Yousef, in his individual capacity: “The assailants [settlers] are
Palestine’s Environment                                                                            consistently protected by IDF and G4S personnel. IDF and G4S personnel
                                                                                                   approve of these vicious physical attacks [by armed settlers].” (AC, Ex. C                                               (1) Property damage / loss alleged insufficient to support
 Name in AC, Ex. C is                                                                                                                at 16)                                                                                 ATS claim and unavailable as a matter of law for TVPA
  The Association for                                                                                                                                                                                                       claim;
Farmer's Rights and the       AC, Ex. C at 16-17         Yes.            No.            None       Hashim Yousef, in his official capacity: "With the assistance of IDF and               None         Potentially Barred   (2) Fails to allege a concrete and demonstrable injury to
    Preservation of                                                                                G4S personnel, Karnei Shomron settlers and their settlement coordinator                                                  the organization’s activities;
Palestine's Environment                                                                            have taken thousands of dunams of land from association members and                                                      (3) Fails to establish the identity and standing of the
The first entry in AC, Ex.                                                                         farmers in Jinsafut village. . . . IDF/G4S refused farmers access to their                                               organization's members.
    C appears to be for                                                                             land, expelled them from their land, physically assaulted and battered
       Hashim Yousef                                                                                                 many farmers.” (AC, Ex. C at 16-17)
individually, although he
  is listed in the caption
     only in his official
          capacity



                                                                                                                                                                                                                            (1) Property damage / loss alleged insufficient to support
      Tariq Hussni
                                                                                                                                                                                                                            ATS claim and unavailable as a matter of law for TVPA
     Abed Al-Fateh
                                                                                                                                                                                                                            claim;
        Sabatin                                                                                    “Plaintiff’s sole income source was a valuable piece of property that was
                                                                                                                                                                                                                            (2) To extent injury was allegedly inflicted by G4S, the
                              AC, Ex. C at 19-20         Yes.            No.            None          partially destroyed and totally confiscated by Israeli soldiers, G4S                None         Potentially Barred
                                                                                                                                                                                                                            Complaint fails to allege any connection between G4S
Spelling in AC, Ex. C is                                                                                   personnel, and violent armed settlers.” (AC, Ex. C at 19)
                                                                                                                                                                                                                            and any of the moving Defendants;
  Husni Abdulfatah
                                                                                                                                                                                                                            (3) To extent injury was allegedly inflicted by the IDF,
       Sabateen
                                                                                                                                                                                                                            claims premised on conduct of Israeli military are waived.


                                                                                                       “42 dunams of his agricultural land were taken over by settlers. . . .
                                                                                                                                                                                                                            (1) Property damage / loss alleged insufficient to support
                                                                                                    Settlers destroyed 170 grape saplings, 12 ancient olive trees, slaughtered
                                                                                                                                                                                                                            ATS claim and unavailable as a matter of law for TVPA
                                                                                                    livestock, and cut off access to agricultural roads ...Construction/support
                                                                                                                                                                                                                            claim;
                                                                                                   firms profited from this expulsion and theft . . . HP/Motorola surveillance
                                                                                                                                                                                                                            (2) To extent injury was allegedly inflicted by G4S, the
                                                                                                    and devices protect the new housing structures. . . . [L]ive target practice
     Ibrahim Sabih            AC, Ex. C at 24-25         Yes.            No.            None                                                                                              None         Potentially Barred   Complaint fails to allege any connection between G4S
                                                                                                      and other activities have been committed by violent settlers who have
                                                                                                                                                                                                                            and any of the moving Defendants;
                                                                                                     been protected by IDF and G4S personnel. IDF/G4S personnel threaten
                                                                                                                                                                                                                            (3) To extent injury was allegedly inflicted by the IDF,
                                                                                                   and attack Palestinian farmers . . . All of this criminal activity has resulted
                                                                                                                                                                                                                            claims premised on conduct of Israeli military are waived.
                                                                                                   in multiple assaults and batteries, which has inflicted severe bruising and
                                                                                                                 broken bones on the plaintiff.” (AC, Ex. C at 24)

                             AC at 18 (see "Causal
                             Chain of Damages for
                                                                                                   “Plaintiff Andoni has had private property forcibly confiscated by violent                                               Property damage / loss alleged insufficient to support
                             Har Homa Plaintiffs"
      Jihan Andoni                                       Yes.            No.            None        settlers who were assisted by G4S and IDF personnel employing Volvo                   None         Potentially Barred   ATS claim and unavailable as a matter of law for TVPA
                                    visual)
                                                                                                             front loaders.” (AC, Ex. C at 27-28; see also AC at 18)                                                        claim
                              AC, Ex. C at 27-28




                                                                                                                                                                                                                                                                                         10
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                                                                           BACKGROUND                                                                                                     STATUTE OF LIMITATIONS                     SELECTED STANDING / PLEADING DEFICIENCY


                                                    Israeli        Injury
                                                   Military      Allegedly
                                Location
                                                  Alleged To      Based on         Alleged                                                                                             Alleged Date of          Barred by Statute
         Name                       of                                                                                            Alleged Injury                                                                                          Selected Standing and Pleading Deficiency
                                                 Have Played    Direct Israeli    Citizenship                                                                                              Injury                of Limitations
                               Allegations
                                                 Some Role in     Military
                                                    Injury         Action




                                                                                                   “She was forcibly expelled and her family members [sic] from her private                                                          Property damage / loss alleged insufficient to support
     Khulude Isaac          AC, Ex. C at 30-31       Yes.            No.             None          property by violent settlers assisted by G4S/IDF personnel.” (AC, Ex. C at                None               Potentially Barred   ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                       30-31)                                                                                        claim




                                                                                                                                                                                                                                     (1) Property damage / loss alleged insufficient to support
                                AC at ¶ 29                                                          “She was forcibly expelled from her private property by violent settlers
                                                                                                                                                                                                                                     ATS claim and unavailable as a matter of law for TVPA
      Linda Kateeb                                   Yes.            No.         U.S. (AC at 45)                       assisted by G4S/IDF personnel.”                                       None               Potentially Barred
                                                                                                                                                                                                                                     claim;
                             AC, Ex. C at 31                                                                                   (AC, Ex. C at 31)
                                                                                                                                                                                                                                     (2) U.S. citizen who cannot assert an ATS claim.

      Mahmoud
                                                                                                                                                                                        Repeated trespasses
     Ahmed Mussa
                                                                                                   “The Plaintiff’s olive groves have been cut down multiple times by violent             occured between
       Sabatin                                                                                                                                                                                                                       Property damage / loss alleged insufficient to support
                                                                                                   settlers. . . . IDF forces . . . understand that the violent settlers are virtually "2012 and 2014 and
                            AC, Ex. C at 31-32       Yes.            No.             None                                                                                                                        Partially Barred    ATS claim and unavailable as a matter of law for TVPA
                                                                                                         untouchable.” IDF is listed as an “Eventuating Perpetrator” and                   are an ongoing
     Spelling in the                                                                                                                                                                                                                 claim
                                                                                                                “Receiving/Distributing Entity.” (AC, Ex. C at 31-32)                 trespass" (AC, Ex. C at
    AC, Ex. C is Issa
                                                                                                                                                                                               31-32)
       Sabateen

                                                                                                   “She was forcibly expelled and her family members [sic] from her private                                                          Property damage / loss alleged insufficient to support
       Mina Ishaq            AC, Ex. C at 34         Yes.            No.             None          property by violent settlers assisted by G4S/IDF personnel.” (AC, Ex. C at                None               Potentially Barred   ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                         34)                                                                                         claim
                                                                                                   “She was forcibly expelled and her family members [sic] from her private                                                          Property damage / loss alleged insufficient to support
       Qais Ishaq           AC, Ex. C at 40-41       Yes.            No.             None          property by violent settlers assisted by G4S/IDF personnel.” (AC, Ex. C at                None               Potentially Barred   ATS claim and unavailable as a matter of law for TVPA
                                                                                                                                       40-41)                                                                                        claim

      Ra’fat Ishaq
                                AC at 18                                                           “She was forcibly expelled and her family members [sic] from her private                                                          Property damage / loss alleged insufficient to support
Spelling in the complaint
                                                     Yes.            No.             None          property by violent settlers assisted by G4S/IDF personnel.” (AC, Ex. C at                None               Potentially Barred   ATS claim and unavailable as a matter of law for TVPA
and AC, Ex. C is Ra’afat;
                             AC, Ex. C at 41                                                                                             41)                                                                                         claim
 spelling in case caption
         is Ra'fat



         Raji
                                                                                                      “Plaintiff’s agriculture fields was [sic] ruined by Volvo front loaders,
      Mohammed
                                                                                                       agricultural output stolen, equipment stolen, walls demolished, and
     Abed Al-Azziz
                                                                                                   storehouse was burned. He had livestock and water wells poisoned by . . .                                                         Property damage / loss alleged insufficient to support
        Sabatin
                            AC, Ex. C at 42-43       Yes.            No.             None               violent settlers.” IDF is listed as an “Eventuating Perpetrator” and                 None               Potentially Barred   ATS claim and unavailable as a matter of law for TVPA
                                                                                                     “Receiving/Distributing Entity.” The Chart narrative says that IDF has                                                          claim
 Name in AC, Ex. C is
                                                                                                   committed war crimes, but it does not connect this statement to Plaintiffs’
   Rami Adbulaziz
                                                                                                                            injuries. (AC, Ex. C at 42-43)
 Mohammed Sabateen




                                                                                                                                                                                                                                     (1) Property damage / loss alleged insufficient to support
                                AC at ¶ 29                                                          “With the assistance of IDF and G4S personnel violent nearby settlers
                                                                                                                                                                                                                                     ATS claim and unavailable as a matter of law for TVPA
      Saad Malley                                    Yes.            No.         U.S. (AC at 45)   have stolen 20 dunams . . . owned by Plaintiff Malley.” (AC, Ex. C at 43-                 None               Potentially Barred
                                                                                                                                                                                                                                     claim;
                            AC, Ex. C at 43-44                                                                                        44)
                                                                                                                                                                                                                                     (2) U.S. citizen who cannot assert an ATS claim.




                                                                                                                                                                                                                                                                                                  11
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                                                                          BACKGROUND                                                                                                STATUTE OF LIMITATIONS                 SELECTED STANDING / PLEADING DEFICIENCY


                                                   Israeli        Injury
                                                  Military      Allegedly
                              Location
                                                 Alleged To      Based on        Alleged                                                                                          Alleged Date of     Barred by Statute
        Name                      of                                                                                          Alleged Injury                                                                                     Selected Standing and Pleading Deficiency
                                                Have Played    Direct Israeli   Citizenship                                                                                           Injury           of Limitations
                             Allegations
                                                Some Role in     Military
                                                   Injury         Action


                                                                                                      “[A]rmed settlers expel Palestinian neighbors.” (AC at 18)
                                                                                                                                                                                                                           (1) Property damage / loss alleged insufficient to support
 Village Council of the                                                                                                                                                                                                    ATS claim and unavailable as a matter of law for TVPA
                                                                                                  “Like Plaintiffs in other villages, they have lost spouses and family
  Villages of: Abu Al-         AC at 18                                                                                                                                                                                    claim;
                                                                                              members, agricultural property, homes, and retail markets, had water wells
‘Asja, Abu Al- Ghazlan,                             Yes.            No.            None                                                                                                None           Potentially Barred   (2) Fails to allege a concrete and demonstrable injury to
                                                                                              poisoned and animals slaughtered by settlers, suffered from environmental
 Abu Al-‘Arqan; Karza;    AC, Ex. C at 47-48                                                                                                                                                                               the organization’s activities;
                                                                                               waste runoff, and were deprived of their natural resources.” IDF is listed
        Raboud                                                                                                                                                                                                             (3) Fails to establish the identity and standing of the
                                                                                                                     as an ‘Eventuating Perpetrator.”
                                                                                                                                                                                                                           organization's members.
                                                                                                                           (AC, Ex. C at 47-48)


                                                                                                                                                                                                                           Fails to allege injury that is fairly traceable to any moving
                                                                                                                                                                                                                           Defendant:

                                                                                                 “[S]ettlers for no reason set upon him and viciously beat him. . . .                                                      (1) To extent injury was allegedly inflicted by G4S, the
    Ahmed Al-Zeer           AC, Ex. C at 4          Yes.            No.            None       IDF/G4S personnel made no attempt to stop the settlers even though they                  None           Potentially Barred   Complaint fails to allege any connection between G4S
                                                                                                          observed what was happening.” (AC, Ex. C at 4)                                                                   and any of the moving Defendants;
                                                                                                                                                                                                                           (2) To extent injury was allegedly inflicted by the IDF,
                                                                                                                                                                                                                           claims premised on conduct of Israeli military are waived.


                                                                                               "The Plaintiffs have relatives, including children and spouses, who have
                                                                                                been murdered or are still incarcerated as political prisoners and have
                                                                                                                been tortured like Plaintiff Al-Tamimi."
                                                                                                                           (Complaint at ¶ 29)

                                                                                              “[V]iolent settlers . . . inflicted injuries upon, inter alia, Plaintiff Tamimi.”
                                                                                                                              (Complaint at ¶ 51)
                                                                                                                                                                                                                           Fails to allege injury that is fairly traceable to any moving
                                                                                                                                                                           "Plaintiff Al-Tamimi
                                                                                                                                                                                                                           Defendant:
                                                                                                  "The Israel Prison Service confirmed that the Volvo Group and its           has been arrested
                          AC at ¶¶ 29, 51, 68                                                     subsidiary Merkavim provide services to the Israel Prison Service,            illegally and
      Bassem Al-                                                                                                                                                                                                           (1) To extent injury was allegedly inflicted by G4S, the
                                                    Yes.            No.            None         including buses for the transportation of prisoners such as Plaintiff Al-   incarcerated at least      Partially Barred
       Tamimi                                                                                                                                                                                                              Complaint fails to allege any connection between G4S
                          AC, Ex. C at 10-11                                                                         Tamimi." (Complaint at ¶ 68)                         ten times in the last ten
                                                                                                                                                                                                                           and any of the moving Defendants;
                                                                                                                                                                           years." (AC, Ex. C at
                                                                                                                                                                                                                           (2) To extent injury was allegedly inflicted by the IDF,
                                                                                               “Al-Tamimi has been arrested illegally and incarcerated at least ten times            10)
                                                                                                                                                                                                                           claims premised on conduct of Israeli military are waived.
                                                                                                in the last ten years. Both IDF and G4S personnel were instrumental in
                                                                                                     securing his arrest and incarcerations. During those periods of
                                                                                              incarcerations, he was tortured on an almost daily basis by G4S personnel.
                                                                                                He was continuously arrested for peacefully protesting the expansion of
                                                                                                                           nearby settlements.”
                                                                                                                           (AC, Ex. C at 10-11)


                                                                                                                                                                                                                           Fails to allege injury that is fairly traceable to any moving
                                                                                                                                                                                                                           Defendant:

                                                                                                                                                                                                                           (1) To extent injury was allegedly inflicted by G4S, the
                                                                                              “[H]is son was then shot by the Bet El settler or settlement coordinator or
    Emad Shujaia           AC, Ex. C at 12          Yes.            No.            None                                                                                                None           Potentially Barred   Complaint fails to allege any connection between G4S
                                                                                                             by IDF/G4S personnel.” (AC, Ex. C at 12)
                                                                                                                                                                                                                           and any of the moving Defendants;
                                                                                                                                                                                                                           (2) To extent injury was allegedly inflicted by the IDF,
                                                                                                                                                                                                                           claims premised on conduct of Israeli military are waived.




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                                                                           BACKGROUND                                                                                                 STATUTE OF LIMITATIONS                   SELECTED STANDING / PLEADING DEFICIENCY


                                                    Israeli        Injury
                                                   Military      Allegedly
                                Location
                                                  Alleged To      Based on           Alleged                                                                                        Alleged Date of       Barred by Statute
         Name                       of                                                                                             Alleged Injury                                                                                    Selected Standing and Pleading Deficiency
                                                 Have Played    Direct Israeli      Citizenship                                                                                         Injury             of Limitations
                               Allegations
                                                 Some Role in     Military
                                                    Injury         Action



                                                                                                                                                                                                                               Fails to allege injury that is fairly traceable to any moving
                                                                                                                                                                                                                               Defendant:
       Jawad Al-
         Horob
                                                                                                      "Plaintiff’s father was killed while trying to pass a checkpoint on his way                                              (1) To extent injury was allegedly inflicted by G4S, the
                            AC, Ex. C at 26-27       Yes.            No.               None                                                                                              None             Potentially Barred
                                                                                                        to visit a nearby village by IDF or G4S personnel.” (AC, Ex. C at 26)                                                  Complaint fails to allege any connection between G4S
Spelling in AC, Ex. C is
                                                                                                                                                                                                                               and any of the moving Defendants;
        Horoob
                                                                                                                                                                                                                               (2) To extent injury was allegedly inflicted by the IDF,
                                                                                                                                                                                                                               claims premised on conduct of Israeli military are waived.



                                                                                                                                                                                                                               Fails to allege injury that is fairly traceable to any moving
                                                                                                                                                                                                                               Defendant:
     Falastin Madi,
                                                                                                       “[H]e was targeted by both G4S and Israeli armed forces . . . [He] was                                                  (1) To extent injury was allegedly inflicted by G4S, the
    as next of kin of       AC, Ex. C at 45-46       Yes.            No.               None                                                                                              None             Potentially Barred
                                                                                                            killed by G4S and/or Israeli soldiers.” (AC, Ex. C at 45-46)                                                       Complaint fails to allege any connection between G4S
       Sami Madi
                                                                                                                                                                                                                               and any of the moving Defendants;
                                                                                                                                                                                                                               (2) To extent injury was allegedly inflicted by the IDF,
                                                                                                                                                                                                                               claims premised on conduct of Israeli military are waived.


                                                                                                      "G4S and IDF personnel were able to employ HP/Motorola sophisticated
  Ashraf Abu-Rahma
                                                                                                       tracking devices to locate the position of Mr. Rahma" and "IDF soldiers                                                 (1) Not a plaintiff;
                             AC, Ex. C at 7-8        Yes.           Yes.               None             eventually confronted him and shot him from a very short distance at a           None             Potentially Barred   (2) Claim waived because premised on conduct of Israeli
   Not identified as a
                                                                                                       time when they had him both handcuffed and blindfolded." He did "not                                                    military
plaintiff in case caption
                                                                                                            die as a result of this violent confrontation." (AC, Ex. C at 7)



                                                                                                                                                                                                                               (1) Not a plaintiff;
                                                                                                                                                                                                                               (2) Property damage / loss alleged insufficient to support
                                                                                                          "Assisted by Volvo front loaders and security barriers provided by
   Ibrahim Mahmoud                                                                                                                                                               "Mr. Ibrahim has been                         ATS claim and unavailable as a matter of law for TVPA
                                                                                                      concrete companies identified in the lawsuit, Israel and G4S personnel ...
     Ibrahim Musa                                                                                                                                                                  suffering financial                         claim;
                                                                                                        demolish[ed] the only road leading to his property. ... [A]rmed Israeli
                            AC, Ex. C at 21-22       Yes.            No.               None                                                                                      damages for the past 7    Partially Barred    (3) To extent injury was allegedly inflicted by G4S, the
                                                                                                       soldiers and violent settlers ... intentionally engaged in wanton violent
   Not identified as a                                                                                                                                                            years." (AC, Ex. C at                        Complaint fails to allege any connection between G4S
                                                                                                      [sic] and destroyed parts of the road and prevented Ibrahim from making
plaintiff in case caption                                                                                                                                                                  21)                                 and any of the moving Defendants;
                                                                                                        any agricultural gain out of his property and farm." (AC, Ex. C at 21)
                                                                                                                                                                                                                               (4) To extent injury was allegedly inflicted by the IDF,
                                                                                                                                                                                                                               claims premised on conduct of Israeli military are waived.




                                                                                                                                                                                                                               (1) Not a plaintiff;
    Jawaher Ibrahim
                                                                                                                                                                                                                               (2) To extent injury was allegedly inflicted by G4S, the
      Abu-Rahmeh                                                                                       "Either G4S or IDF personnel exposed her to a poisonous gas during a
                                                                                                                                                                                                                               Complaint fails to allege any connection between G4S
                             AC, Ex. C at 27         Yes.            No.               None           weekly local protest." She "eventually suffocated and died a couple days           None             Potentially Barred
                                                                                                                                                                                                                               and any of the moving Defendants;
   Not identified as a                                                                                                        later." (AC, Ex. C at 27)
                                                                                                                                                                                                                               (3) To extent injury was allegedly inflicted by the IDF,
plaintiff in case caption
                                                                                                                                                                                                                               claims premised on conduct of Israeli military are waived.




Mahmoud Mohammed
    Ali Shaalan                                                                                       "Using portable HP/Motorola tracking devices, IDF soldiers assisted by                                                   (1) Not a plaintiff;
                                                                                 U.S. (AC, Ex. C at
                            AC, Ex. C at 32-33       Yes.           Yes.                                G4S personnel were able to shoot him five times in the back" and                 None             Potentially Barred   (2) Claim waived because premised on conduct of Israeli
                                                                                        32)
   Not identified as a                                                                                                 "murdered him." (AC, Ex. C at 32)                                                                       military.
plaintiff in case caption



                                                                                                                                                                                                                                                                                               13
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                                                                           BACKGROUND                                                                                         STATUTE OF LIMITATIONS               SELECTED STANDING / PLEADING DEFICIENCY


                                                    Israeli        Injury
                                                   Military      Allegedly
                                Location
                                                  Alleged To      Based on        Alleged                                                                                   Alleged Date of   Barred by Statute
         Name                       of                                                                                      Alleged Injury                                                                              Selected Standing and Pleading Deficiency
                                                 Have Played    Direct Israeli   Citizenship                                                                                    Injury         of Limitations
                               Allegations
                                                 Some Role in     Military
                                                    Injury         Action



 Mahmoud Muhammad
                                                                                                                                                                                                                   (1) Not a plaintiff;
      Hamdan                                                                                    "Plaintiff's attorneys are still trying to ascertain the specifics of Mr.
                                                                                                                                                                                                                   (2) Property damage / loss alleged insufficient to support
                             AC, Ex. C at 33                                        None        Hamdan's claim, which based upon intial short interview concerned                None         Potentially Barred
                                                                                                                                                                                                                   ATS claim and unavailable as a matter of law for TVPA
   Not identified as a                                                                            aggravated trespass on his private property." (AC, Ex. C at 33)
                                                                                                                                                                                                                   claim.
plaintiff in case caption



                                                                                                                                                                                                                   (1) Not a plaintiff;
Majd Yousef Muhammad
                                                                                               "She was arrested without any formal charges over Facebook posts that                                               (2) To extent injury was allegedly inflicted by G4S, the
        Atwan
                                                                                               criticized the Occupation. … IDF and G4S personnel routinely use this                                               Complaint fails to allege any connection between G4S
                            AC, Ex. C at 33-34       Yes.           Yes.            None                                                                                         None         Potentially Barred
                                                                                                criminal charge to arrest, incarcerate, and torture young Palestinians."                                           and any of the moving Defendants;
   Not identified as a
                                                                                                                            (AC, Ex. C at 33)                                                                      (3) To extent injury was allegedly inflicted by the IDF,
plaintiff in case caption
                                                                                                                                                                                                                   claims premised on conduct of Israeli military are waived.




                                                                                                                                                                                                                                                                                14
